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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
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Cherry Hill, NJ 08002
(856) 910-5000
Attorneys for the Debtors

In re:                                                 Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge: Gloria M. Burns

                Debtors.                               Chapter: 11


ORDER RECLASSIFYING ADMINISTRATIVE CLAIM OF EULER HERMES ACI, AS
  ASSIGNEE OF RUSAL AMERICA CORP. TO GENERAL UNSECURED CLAIM
         The relief set forth on the following page, numbered two (2), is hereby ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No. 08-14631 (GMB)

Order Reclassifying Administrative Claim of Euler Hermes ACI, as Assignee of Rusal America Corp. to General
Unsecured Claim



         Upon consideration of the above-captioned debtors’ (the “Debtors”) objection seeking an

order reclassifying the administrative expense claim of Euler Hermes ACI, as assignee of Rusal

America Corp. (“Rusal”) to general unsecured status (the “Objection”),1 any responses or

objections thereto, notice of the Motion appearing appropriate, and for cause shown, it is hereby

ORDERED:

         1.      That the Objection is SUSTAINED.

         2.      That Rusal’s proof of claim identified as claim no. 773 on the claims register is

reclassified as a general unsecured claim.




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1
  Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to
them in the Objection.

                                                  2
